Case: 1:18-cv-06870 Document #: 1 Filed: 10/12/18 Page 1 of 6 PageID #:1                                               %
  flf you need additional space for ANY section, please attach an additional sheet and reference that section.l


                                                                                                        FILED
                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS                                                        ocr 1 2?018/Y
                                                                                                     THOMASG. BRUTON
                                                   )                                              CLERK, U.S. DtSTRtcTcouRT
                                                              case    Number:
               rintifr
          Plaintiff                                l
               YNQUI Bsr$m)
          v.                                       )          1:18-cvff870
                                                   )          Judge John ZLee
            fendant
          Defendant                                ]
                                                              tagistrab Judge Jefhey Cole
               StUrstl FuSTi                       r\)



                                 C-t"^rP\o,."^J-




  [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
       Case: 1:18-cv-06870 Document #: 1 Filed: 10/12/18 Page 2 of 6 PageID #:2




Complaint:

There were three African American women on the project team. Often times, Richard Robbins and Tom
Ruvoli would get the names confused, calling each by one of the other's names. On one such instance in
April 2018, Plaintiff asked Richard to please correct this behavior and was told by Richard Robbins that
he did not have to learn hers or the names of the other two African American women on the project
team stating that "whichever one of you l'm looking at is who l'm talking to!"

Plaintiff threatened to file a grievance and was abruptly terminated soon after.

Plaintiff believes that the threat to file a grievance for harassment and racism caused her termination
which is in violation of Title Vll of the Civil Rights Act of 1964.




    {o^O^.* O.                       (3-^,^\,-...-J
      O                              ro\n.1a-s\t
                        Case: 1:18-cv-06870 Document #: 1 Filed: 10/12/18 Page 3 of 6 PageID #:3
EEOC Form 161 (1 1AO)                     U.S, Eoueu EMPLoYMENT OPPoRTUNITY COMMISSION

                                                  DIsnaIssaL AND NOICe OF RIGHTS
To: Yaqui A. Benson                                                                    From: Chicago District Office
       {111 W 14th P!                                                                        500 West Madison St
       #116                                                                                  Suite 2000
       Chicago, lL 60608                                                                     Ghicago, IL 60661


                             On behalf of person(s) aggrieved whose identity is
                             COI,JFIDENTIAL Q9 CFR 51601,7b))
EEOC Charge No.                                  EEOC Representative                                                Telephone No.

                                                 Robert Shelton,
440-20'.18-04716                                 lnvestigator                                                       (312) 869-8078



     n
THE EEOC IS CLOSING ITS F'ILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


     fl          Your allegations did not involve a disability as defined by the Americans With Dlsabilities Act.


     tl          The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.


     n           Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge

     E           The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

     E           The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


     E           Qther (briefly state)



                                                          . NOTICE OF SUIT RIGHTS -
                                                    (See the additional information attached to this form.)

Title Vll, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WJIE!!!!Q.-Q!$ of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equat Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 vears (3 vears)
before,vou file suit rnay not be collectible.
                                                                          behalf of the

                                                                                                                       ?lt'il|(
 Enclosures(s)                                                                                                            (Date Mailed)
                                                                   Julianne Bowman,
                                                                    District Director
            Chief Executive Officer
            SIDLEY AUSTIN
            1 South Dearborn
            Chicago, lL 60602
                                Case: 1:18-cv-06870 Document #: 1 Filed: 10/12/18 Page 4 of 6 PageID #:4


EEOC   Form   5   (11/09)


                                        CHeRcr or DrscRrrvtINATIoN                                                     Charge Presented     To:              Agency(ies) charge No(s):

                        This form is affected by the Privacy Act of 1s71. See enclosed Privacy Act
                              Statement and other infgrmation before completing this form.                                  !     Erre

                                                                                                      I moc                                                       440-20t8447t6
                                                                               rllinoisBelrj*je!]!*ljgranRjghts                                                                  and EEoc


Name (indicate Mr,, Ms, Mrs.)                                                                                                                Home Phone                      Year   ofBirtl

Ms. Yaqui A Benson                                                                                                                       (zo+) aoo-oosz
Street Address                                                                                  city, state and zlP code

1111 W 14th Pl, #116, CHICAGO, IL 60608


Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe Discriminated
Against Me or Otherc, (If more than two, list under PARTICIILARS below,)
Name                                                                                                                                No. Employees, Members                Phone No.


SIDLEYAUSTIN                                                                                                                                501+                    (srz) aso-ssor
Street Address                                                                                  city, state and zlP code

1 South Dearborn, CHICAGO,                                  tL6o602

Name                                                                                                                                No. Employees, Members                Phone No,




Street Address                                                                                  city, state and zlP Code




DISCRIMINATIoN              B   A'ED oN (che.'k appropriate box(es),)                                                                       DATE(s) DIScRIMINATION TOOK PLACE
                                                                                                                                                     Earliest                     Latest


  @*.u [.0'o* I-l'*                                                             | | neucroN l_l Nrror.rar-on,c,u                                03-01-2018                 04-18-2018

         []             *rr*^r,o,u n                       ^ot E              DrsABrLrrY l-l o*rr,a INF.RMATI.N
                                                                                         l-t
                                                                                                                                                             .o"rr*r,NcAcroN
                        l) omentsneciL)                                                                                                              [
THE PARTICULARS                 *t   (tfadditional paper is needed, attach extra shee(s)):
  I began my employment with Respondent on or about November 13, 20t7, My most recent posiHon was Program Management
  Senior,lnalyst. Oiring my employmen! I was subjected to harassment. I complained to Respondent to no avall. Subsequently,                                                                   I
  was discharged.
  I believe thai I have been discriminated against because of my race, Blach and in retaliation, tn violation of Title VII of the Civil
  Rights Act of1964, as a:nended.




I want this charge filed with both the EEOC and the State or local Agency, ifany' I will                      NOTARY .. When necessary for State and tocal Agency Requirements

advise the agencies ifl change my address or phone number and I will cooperate fully with
them in the processing of my charge in accordance with their procedures'
                                                                                                              I swear or affirm that I have read the above charge and that it is true to the
I declare under penalty of perjury that the above is true and correct.                                        best of my knowledge, information and belief.
                                                                                                              SIGNATURE    Of COMPLAINANT



                                                                                                              SUBSCRIBED AND SWORN TO BETORE ME THIS DATE
              Digitally signed by Yaqui Benson on 07-13-2018 05:09 PM EDT                                     (month, day,yea)
     Case: 1:18-cv-06870 Document #: 1 Filed: 10/12/18 Page 5 of 6 PageID #:5


                     InTOnUATION ON wHERE TO FILE SUIT
You have been notified of your right to sue in Federal District Court. Suit is ordinarily filed in
the District having jurisdiction of the county in which the employer, against whom you filed a
Charge of employment discrimination, is located. The telephone number listed for each
District is that of the Clerk of the Court.
U.S. DISTRICT COURT                               U.S. DISTRICT COURT
Northern District of Illinois                     Central District of Illinois
Eastern Division at Chicago                       Urbana Division
219 South Dearborn Street                         201 South Vine
Chicago, lL 60604                                 Urbana, IL 61801
312-435-5670                                      2r7-373-s830
                         Counties                                         Counties
Cook                            Kendall           Chamoaisn                      Kankakee
DuPage                          Lake              Coles                          Macon
Grundv                          LaSalle           Douglas                        Moultrie
Kane                            wilt              Edsar                          Piatt
                                                  Ford                           Vermillion
                                                  Iroquois
U.S. DISTRICT COURT                               Peoria Division
Northern District of Illinois
Western Division at Rockford                      100 N.E. Monroe Street
211 South Court Street                            135 Federal Building
Federal Building                                  Peoria, IL 61602
Rockford, IL 61101                                309-671-7117
8   ls-987-4355

                       Counties                                            Counties
Boone                           McHenrv           Bureau                         McLean
Carroll                         Osle              Fulton                         Peoria
DeKalb                          Stephenson        Hancock                        Putnam
JoDaviess                       Whiteside         Knox                           Stark
Lee                             Winnebaso         Livinsston                     Tazewell
                                                  Marshall                       Woodford
                                                  McDonoush
U.S. DISTRICT COURT                               Rock Island Division
Southern District of Illinois                     211 lgth Street
750 Missouri Avenue                               Rock Island, IL 61201
East St. Louis, IL 62201                          309-193-s778
618-482-0671
                           and
301 Main Street
Benton, lL 62812
618-438-0671
                       Counties                                            Counties
Alexander                     Johnson             Henderson                      Rock Island
Bond                            Lawrence          Henrv                          Warren
Calhoun                         Madison           Mercer
Clark                           Marion            Sprinsfield Division
Clinton                         Monroe            600 East Monroe Street
Crewford                        Peru              Springfield, lL 62701
a,tfthafl4nd                    D^--
                                                  2r7-492-4020
Edwards                         Pulaski
Effineham                       Randolph                                  Counties
Favette                         Richland          Adams                          Losan
Franklin                        St. Clair         Brown                          Macoupin
Gallatin                        Saline            Cass                           Mason
Hamilton                        Union             Christian                      Menard
Hardin                          Wabash            DeWitt                         Montgomery
Jackson                         Washington        Green                          Morgan
Jasper                          Wavne             Pike                           Schuvler
Jefferson                       White             Shelbv
Jersey                          Williamson
         Case: 1:18-cv-06870 Document #: 1 Filed: 10/12/18 Page 6 of 6 PageID #:6



      FrrrNc Surr rx CoURT oF CorupnrENT JunrsoICTIoN
PnrvlrB SurrRrcnrs

The issuance of this Notice of Right to Sue or Dismissal and Notice of Rights ends the EEOC process with
respect to your Charge. You may file a lawsuit against the Respondent within 90 days from the date you
receive this Notice. Therefore, you should keep a record of the date. Once the 90 day period is over, your
right to sue is lost. If you intend to consult an attorney, you should do so as soon as possible. Furthermore, in
order to avoid any question that you did not act in a timely manner, if you intend to sue on your own behalf;
your suit should be filed well in advance of the expiration of the 90 day period.

You may file your lawsuit in a court of competent jurisdiction. Filing this Notice is not sufficient. A court
complaint must contain a short Statement of the facts of your case which shows that you are entitled to relief.
Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some cases can
be brought where relevant employment records are kept, where the employment would have been, or where
the Respondent has its main office.

You may contact the EEOC if you have any questions about your rights, including advice on which court can
hear your case, or if you need to inspect and copy information contained in the case file.

Ir.rrrBFIRsTTHREECHARAcTERsoFYoUR@anr..21n,,4YoURCHARGEwAs
TNvESTTcATED By rHE Ilr,rNors DopaRrnrnNT oF HUMAN Rrcnrs (IDHR), REeuEsr FoR REVTEwTNG AND
COPYING DOCUMENTS FROM YOUR FILE MUST BE DIRECTED TO IDHR.

A lawsuit against   a private employer is generally   filed in the U.S. District Court.

A lawsuit under Title VII of the Civil Rights Act of 1964, as amended, against a State agency or a political
subdivision of the State is also generally filed in the U.S. District Court.

However, a lawsuit under the Age Discrimination in Employment of the American with Disabilities Act or,
probably, the Equal Pay Act against a State instrumentality (an agency directly funded and controlled by the
State) can only be filed in a State court.

A lawsuit under the Age Discrimination in Employment Act or the American with Disabilities Act or the
Equal Pay Act against a political subdivision of a State, such as municipalities and counties, may be filed in
the U.S. District Court.

For a list of the U.S. District Courts, please see the reverse side.

ArroRNey RrpRrsBNtATIoN

Ifyou cannot afford an attorney, or have been unable to obtain an attorney to represent you, the court having
jurisdiction in your case may assist you in obtaining a lawyer. If you plan to ask the court to help you obtain
a lawyer, you must make this request of the court in the form and manner it requires. Your request to the
court should be made well in advance of the 90 day period mentioned above. A request for representation
does not relieve you of the obligation to file a lawsuit within the 90-day period.

DpsrRucrroN oF FrLE

If you file suit, you or your attorney should forward a copy of your court complaint to this office. Your file
will then be preserved. Unless you have notified us that you have filed suit, your Charge file could be
destroyed as early as six months after the date of the Notice of Right to Sue.

Ir vou   FILE surr, you oR youR ATToRNEv sHouLD NorIFy rHIs oFFICE wHEN THE LAwsuIT Is REsoLvED.
